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                                                                                      United States Bankruptcy Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
              IN THE UNITED STATES BANKRUPTCY COURT                                      December 05, 2024
              FOR THE SOUTHERN DISTRICT OF TEXAS                                          Nathan Ochsner, Clerk
                       GALVESTON DIVISION
IN RE:                             §
                                   §
HENRY WEST NM COAST, LLC           §    CASE NO. 24-80333
                                   §
   DEBTOR.                         §    CHAPTER 11

              AGREED ORDER DISMISSING CHAPTER 11 CASE
WITH 180-DAY PREJUDICE TO RE-FILING ANOTHER BANKRUPTCY CASE

       CAME ON to be considered, at the hearing held on December 5, 2024, the United
States Trustee’s Motion to Dismiss Case (the “Motion”). Based on consent of the Debtor and
opportunity for hearing having been given by the Court, and it having been shown to the
satisfaction of the Court that cause (lack of insurance) exists under 11 U.S.C. § 1112(b) for
dismissal of the above-entitled case and the parties are in agreement, it is hereby
       1.      ORDERED that the Motion is GRANTED; and it is further

       2.      ORDERED that the above-entitled chapter 11 case is DISMISSED with 180-days
               prejudice to file another bankruptcy case; and it is further

       3.      ORDERED that the Debtor shall file, within five (5) days of the date of entry of this
               order, all unfiled or outstanding operating reports, pursuant to Federal Rule of
               Bankruptcy Procedure 2015(a)(5); and it is further

       4.      ORDERED that the Debtor shall pay within ten (10) days of the entry of this Order to
               the United States Trustee the appropriate quarterly fees which are due and payable
               pursuant to 28 U.S.C. § 1930(a)(6), if any. The payment must reflect debtor’s account
               number (413-24-80333) and be remitted either: (i) electronically through pay.gov
               at: https://www.pay.gov/public/form/start/672415208; or, (ii) by mail to the U.S. Bank
               lockbox at United States Trustee Payment Center, P.O. Box 6200-19, Portland, OR
               97228-6200.

       5.      ORDERED that the Court retains jurisdiction to enforce this Order.


       SIGNED on the ______ day of December 2024.
       Signed: December 05, 2024

                                                     _____________________________________
                                                               _____________________________
                                                     ALFRED R.Alfredo
                                                                PÉREZ,R Pérez
                                                     UNITED STATES    BANKRUPTCY
                                                               United States BankruptcyJUDGE
                                                                                        Judge
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APPROVED, AGREED TO, AND ENTRY REQUESTED:

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COUNSEL FOR DEBTOR



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